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 8                       UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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11                                 )
     JP EXPRESS SERVICE, INC. and JP
                                   ) Case No.: SACV 18-00134-CJC(RAOx)
     EXPRESS SERVICE INC.          )
12
     HEALTHCARE BENEFIT PLAN       )
13                                 )
                                   )
14             Plaintiffs,         )
                                   )             JUDGMENT
15       v.                        )
                                   )
16                                 )
     KG ADMINISTRATIVE SERVICES,   )
17   THE KEISER GROUP, LLC, TRACEY )
                                   )
     KEISER, and ROBERT FRAZIER,   )
18
                                   )
19                                 )
               Defendants.         )
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 1         In accordance with the Supplemental Memorandum of Decision issued by the
 2   Court on October 2, 2020, IT IS ORDERED AND ADJUDGED that the Plaintiffs JP
 3   Express Service, Inc. and JP Express Service Inc. Healthcare Benefit Plan are entitled to
 4   Judgment against Defendants KG Administrative Services, The Keiser Group, LLC,
 5   Tracey Keiser, and Robert Frazier for the total sum of $325,000.00
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       DATED: October 2, 2020

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                                                   HON. CORMAC J. CARNEY
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12                                            UNITED STATES DISTRICT JUDGE
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